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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 STEPHANIE BUSH,                                  :
                                                  :
                Plaintiff,                        :
                                                  :
        v.                                        : CASE NO. 2:22-cv-01292-KSM
                                                  :
 LVNV FUNDING, LLC,                               :
                                                  :
                Defendants.                       :
                                                  :
                                                  :

 DEFENDANT LVNV FUNDING, LLC’S MEMORANDUM OF LAW IN OPPOSITION
           TO PLAINTIFF’S MOTION FOR ATTORNEY’S FEES

       Defendant LVNV Funding, LLC respectfully submits this Memorandum of Law in

Opposition to Plaintiff’s Motion for Attorney’s Fees (ECF 5).

I.     INTRODUCTION

       In this straightforward Fair Debt Collection Practices Act case that resolved itself just over

a month after the Complaint was filed, Plaintiff alleged that LVNV violated 15 U.S.C. § 1692e by

failing to notify the national credit reporting agencies that she disputed the account she owed to

LVNV. ECF 1, ¶¶ 38—39. Neither the facts of this case nor the legal theory on which it rests is

novel or complex. The parties engaged in no discovery. In fact, the case resolved before LVNV

filed a responsive pleading. But despite the straightforward nature of this case, despite that it

required no original work by counsel, and despite the fact that the case resolved for a de minimis

amount, Plaintiff nonetheless seeks $4,795.00 in attorney’s fees—nearly five (5) times the amount

recovered by Plaintiff herself. For the reasons that follow, this amount should be reduced so that

counsel is awarded only the reasonable fees permitted pursuant to the FDCPA.




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II.    RELEVANT PROCEDURAL HISTORY

       Plaintiff filed her Complaint on April 6, 2022, alleging that LVNV violated the FDCPA by

neglecting to inform the credit reporting agencies that Plaintiff disputed the account she owed to

LVNV. ECF 1. Shortly afterwards, the parties resolved Plaintiff’s claim for damages by Plaintiff’s

May 16, 2022 acceptance of Defendant’s Rule 68 Offer of Judgment. ECF 4. Pursuant to the Offer,

Plaintiff accepted a judgment in her favor and against LVNV in the amount of $1,001.00. Id. The

judgment also provides that LVNV will pay Plaintiff’s reasonable attorney’s fees and costs

incurred in connection with Plaintiff’s prosecution of the claims alleged against LVNV through

May 16, 2022, when Plaintiff accepted the offer. Id.

       Unfortunately, the parties were unable to come to an agreement as to the amount of

counsel’s reasonable fees, culminating in Plaintiff’s Motion.

III.   STANDARD OF REVIEW

       The FDCPA provides that a prevailing plaintiff is entitled to “the costs of the action,

together with a reasonable attorney’s fee as determined by the court.” 15 U.S.C. § 1692k(3)

(emphasis added). Regarding such fees, “[c]ounsel for the prevailing party should make a good

faith effort to exclude from a fee request hours that are excessive, redundant, or otherwise

unnecessary …” Hensley v. Eckerhart, 461 U.S. 424, 434 (1983). To determine a reasonable fee,

the court takes the number of hours reasonably expended on the case multiplied by a reasonable

hourly rate. Id. at 433. This is often referred to as the lodestar amount, and the party seeking the

attorney’s fees bears the burden to prove the reasonableness of the requested fees. Id. “[C]ourts

are to exclude from the determination of the lodestar any hours not reasonably expended. Hours

subject to exclusion under Hensley include those deemed ‘excessive, redundant, or otherwise



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unnecessary.’” McKenna v. City of Philadelphia, 582 F.3d 447, 455 (3d. Cir. 2009) (quoting

Hensley, 461 U.S. at 434). A district court not only has the authority to determine a reasonable fee,

but also has much latitude in reaching a figure:

       “the district court retains a great deal of discretion in deciding what a reasonable
       fee award is, so long as any reduction is based on objections actually raised by the
       adverse party.… The court will inevitably be required to engage in a fair amount of
       “judgment calling” based upon its experience with the case and its general
       experience as to how much time a case requires. In order to exercise its discretion
       fairly, a district court needs flexibility in deciding whether to reduce a fee request
       and, if so, by how much.”

Bell v. United Princeton Properties, Inc., 884 F.2d 713, 721 (3d Cir. 1989).

       A party “is not automatically entitled to compensation for all the time its attorneys spent

working on the case.” Instead, a court must “decide whether the hours set out were reasonably

expended for each of the particular purposes described, and then exclude those that are excessive,

redundant, or otherwise unnecessary.” A court “may not reduce an award sua sponte” and must

only do so in response to an opposing party's specific objections. But once an opposing party has

made a specific objection, the burden lies with the prevailing party to justify its request. Mateo v.

ARS National Services, 2017 U.S. Dist. LEXIS 189044 *11; 2017 WL 5479513 (D. N.J. November

14, 2017).

       As a general matter, the court must determine the reasonableness of counsel’s hourly rate

to ensure it is “in line with those prevailing in the community for similar services by lawyers of

reasonably comparable skill, experience and reputation.” Blum v. Stenson, 465 U.S. 886, 896 n. 11

(1984). However, even where a requested hourly rate is generally acceptable, courts may

nonetheless adjust the lodestar based on evaluation of a number of factors, including the time and

labor required of counsel; the novelty of the case; the amount involved and results obtained; the




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experience, reputation and ability of counsel; and the customary fee for similar work. Pub. Int.

Rsch. Grp. v. Windal, 51 F.3d 1179, 1185 n. 8 (3d Cir. 1995) (citations omitted).

IV.    ARGUMENT

       A.      The Court should exclude “paralegal” time for Plaintiff’s failure to substantiate
               an acceptable hourly rate.

       In a petition for fees, a party not only has the burden of substantiating the hourly rates of

her counsel, but also that of any support staff for which she seeks compensation. In Rosner v.

Faloni Law Grp., LLC, 2021 U.S. Dist. LEXIS 46862, at *10 (D.N.J. Feb. 8, 2021), Rosner’s

counsel sought a $100.00 hourly rate for paralegal work. Rosner, at *10. But Rosner provided no

information by which the reasonableness of a $100.00 hourly rate could be measured—Plaintiff

gave the Court no information about the paralegal’s educational background, experience,

familiarity with FDCPA matters, or professional certifications. Plaintiff did not, for example,

provide the purported paralegal’s educational background, experience, familiarity with FDCPA

matters, or indicate whether she held any professional paralegal certification. Additionally, the

plaintiff failed to identify even the customary hourly rate (or even a range of rates) for paralegals

in the community. Id. at *11. Noting that the fee award had to be grounded upon some degree of

a factual record, the Rosner court fully excluded the paralegal’s services from the award. Id.

       Like in Rosner, Plaintiff here has provided no facts or details to support an award for

unsubstantiated paralegal time. She offers no information about the qualifications of the paralegal

or why they are reasonably entitled to billing at an hourly rate of $125.00 per hour. Accordingly,

it is impossible for Defendant, or this Court, to assess whether the fee charged by the paralegal

was reasonable. As a result, this Court should fully exclude the “paralegal’s time, and reduce

counsel’s requested fee award by $175.00.




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       B.      The Court should exclude requests for attorney or paralegal compensation for the
               performance of administrative tasks.

       Time that would not be billed to a client cannot be imposed on an adversary. Evankavitch

v. Green Tree Servicing, LLC, 2014 U.S. Dist. LEXIS 125557 (M.D. Pa. Sept. 9, 2014).

Consequently, tasks not normally billed for by attorneys or paraprofessionals cannot be recovered

by a party through a fee petition. Id. (citations omitted); see also Alexander v. NCO Fin. Sys., No.

11-401, 2011 U.S. Dist. LEXIS 64211, at *19 (E.D. Pa. June 16, 2011). Opening a file in a

database, mailing letters, and copying documents are clearly administrative tasks. Id. at *20; see

also Whitt v. Receivables Performance Mgmt., LLC, 2012 U.S. Dist. LEXIS 143120, at *34—35

(D.N.J. July 18, 2012) (opening files and mailing documents are “excessive, redundant, or

otherwise unnecessary”, “would not generally be billed to one's own client”, and “are not properly

billed to an adversary”).

       With regard to paralegal time, even if this Court were to find the requested time

compensable at some hourly rate, one paralegal task is clearly administrative in nature, and should

be excluded from a fee award:

 Type       Date             Notes                                Quantity     Rate       Total
 Service    11/11/2021       Paralegal: Open new file for         0.5          $125.00    $62.50
                             case, attach all documents to
                             client file.


See ECF 5-5, p. 1.

       Opening files and “attaching” documents to files, like making copies and mailing letters,

are clerical functions and should thus be excluded from the ultimate fee award in this case,

reducing any total award by a further $62.50.




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         With regard to attorney time, Mr. Dunne 1 also billed at his attorney rate for administrative

tasks, which should be excluded. Specifically, Mr. Dunne billed as follows:

    Type       Date            Notes                                Quantity    Rate        Total
    Service    11/13/2021      Attorney: Draft letter of            0.3         $412.50     $123.75
                               representation and mail first
                               class to LVNV Funding

    Service    11/13/2021      Attorney: Draft letter of            0.4         $412.50     $165.00
                               representation and mail
                               certified mail, return receipt
                               requested to LVNV Funding

    Service    11/13/2021      Attorney: Fax LVNV Funding           0.2         $412.50     $82.50
                               Letter of Representation.

    Service    4/1/2022        Attorney: Draft complaint,           2.4         $412.50     $990.00
                               contact client to review, prepare
                               civil cover sheet, case mgmt.
                               form, designation form, and
                               exhibits.

    Service    4/4/2022        Attorney: Review court notices   0.1             $412.50     $41.25
                               of filed documents and attach to
                               file.

    Service    4/6/2022        Attorney: Contact process            0.5         $412.50     $206.25
                               server to obtain costs of
                               service, prepare documents to
                               be sent to process server

    Service    4/22/2022       Attorney: Receive and review         0.2         $412.50     $82.50
                               email from attorney Lauren
                               Burnette requesting clients
                               LVNV account number.
    Service    4/29/2022       Attorney: Receive and review         0.2         $412.50     $82.50
                               email from Attorney Lauren
                               Burnette requesting demand.
    Service    5/2/2022        Attorney: Receive and review         0.2         $412.50     $82.50
                               email from Attorney Lauren
                               Burnette reaffirming counter-
                               offer

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 The invoice does not identify “Attorney” by name, but LVNV presumes based on Plaintiff’s
Motion that “Attorney” refers to Mr. Dunne.
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 Service    05/03/2022        Attorney: Receive and review         0.5          $412.50     $206.25
                              email from Attorney Lauren
                              Burnette containing attached
                              Offer of Judgment



See ECF 5-5, p. 1—2. (Emphasis added).

       Preliminarily, it appears that counsel has billed twice for drafting one letter of

representation to LVNV. Comparing Exhibits 2 and 3 to Plaintiff’s Complaint shows that counsel

billed for drafting the same letter twice on the same day: once by regular mail, and once by certified

mail, return receipt requested. Cf. ECF 1—5 with ECF 1—6. Compounding the issue, counsel has

blurred the line between drafting his notice of representation—which, if it truly requires original

thought, may conceivably be an attorney function—and mailing his notice by combining drafting

and mailing into a single billable item.

       Counsel then compounds the issue by billing a third time for sending the same notice of

representation to LVNV, this time by fax. ECF 5-5, p. 1.. Setting aside the fact that counsel offers

no explanation for why he sent LVNV the same letter three times in one day, it cannot be disputed

that he should not be compensated for performing such a purely clerical task as sending a fax. See

Zavodnick v. Gordon & Weisberg, P.C., 2012 U.S. Dist. LEXIS 788868, at *18—19 (E.D. Pa.

June 6, 2012) (declining to award fees billed for facially clerical tasks, such as preparing

correspondence). These tasks should thus be excluded from the court’s ultimate fee award,

resulting in a further reduction of $371.25.

       The invoice contains other administrative tasks performed by counsel, which should

similarly be excluded from the court’s ultimate award. Communicating with a process server is

not an attorney function normally billed to a paying client, nor is reviewing emails from other

attorneys. See Zavodnick at *19 (“Preparing correspondence, reviewing emails from attorneys, and

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coordinating with a court reporter are not tasks normally billed to a paying client.”). While

communicating with clients is unquestionably an attorney function, simply providing clients with

docketed copies of pleadings and other filed materials, as Mr. Dunne billed for on April 6, 2022,

is not. Taken together, these three categories of billed time entries—communicating with a process

server, reviewing emails from opposing counsel, and sending his clients copies of docketed

materials—total $701.25, and the Court’s ultimate fee award should be further discounted by this

amount.

       Finally, counsel billed 2.4 hours, for a total of $990.00, for “Draft complaint, contact client

to review, prepare civil cover sheet, case mgmt form, designation form, and exhibits.” While

drafting a complaint may be an attorney task, preparation of routine forms such as this Court’s

civil cover sheet, designation form and case management form, are not. By again intermingling

potentially legitimate attorney time with clearly administrative (or, at most, para-professional)

functions, Plaintiff has improperly sought compensation at an attorney rate for tasks performed by

non-billable staff. The Court should decline to reward such efforts, and should reduce its ultimate

fee award by $990.00.

       C.      Even if the Court determines that preparation of the complaint and accompanying
               forms is compensable as an attorney function, it should nonetheless eliminate, or
               substantially reduce, the $990.00 sought by counsel because the Complaint is a
               form complaint.

       Plaintiff contends that her counsel spent 2.4 hours drafting the complaint in this case. But

with the exception of the demographic information about each Plaintiff—the date letters were sent,

the defendant’s name, address and corporate location, and so forth—the complaint filed in this

case is virtually identical to the complaints filed in in numerous other cases in this Court in the

past year alone. See, e.g., Knight v. Portfolio Recovery Associates, LLC, No. 2:22-cv-00555-

NIQA, ECF 1; Knight v. Portfolio Recovery Associates, LLC, No. 2:21-cv-04992-MSG, ECF 1;

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Illiano v. Convergent Outsourcing, Inc., No. 2:21-cv-04419-CFK, ECF 1; Angela Benjamin v.

Commercial Acceptance Company, No. 2:21-cv-02840-RBS, ECF 1; James Gibson v. Commercial

Acceptance Company, 2:21-cv-02837-CMR, ECF 1; Illiano-Trovato v. Convergent Outsourcing,

Inc., 2:21-cv-02645-ER, ECF 1; Denise Mackie v. Bay Area Receivables, Inc., No. 2:21-cv-00908-

WB, ECF 1; Michael Kessler v. Commercial Acceptance Company, 2:21-cv-00597-MAK, ECF 1.

       Indeed, the fact that the Complaint filed in this case is literally identical to numerous other

complaints filed by Plaintiff’s counsel underscores the simplicity of the issues in this matter,

further emphasizing the excessive nature of Plaintiff’s fee request as a whole. The claim pled in

this case is one counsel has pled over and over again, right down to the caselaw citations. To be

sure, LVNV does not take issue with counsel’s use of his prior work product—every attorney owes

their client an ethical obligation to keep costs low where possible. However, LVNV takes

substantial issue with counsel’s effort to recover fees in an amount equal to what it would take to

draft such a complaint from scratch. The Court should similarly decline to reward counsel for his

excessive time entry by eliminating it wholesale from his fee recovery.

       D.      If counsel’s experience and expertise warrant a rate of $412.50, then the amount
               of research conducted in this case is profoundly excessive.

       Counsel seeks compensation in the amount of $206.25 for “Research e(8) case law. Search

citations of Riccio v. Sentry Credit, Inc., 954 F.3d 582 (3d. Cir. 2020) (“Collectors are prohibited

from reporting disputed debts to credit agencies without noting the fact of a dispute.”).” The

requirement that a debt collector notify a credit reporting agency of a disputed debt has been in

place since the FDCPA was first passed in 1977; this is not a novel concept, and Riccio is no longer

a “new” case (nor did its ultimate holding impact, to any degree, a debt collector’s obligation to

notify the credit bureaus to whom it reports that a disputed debt is disputed). Thus, counsel claims

to possess a level of experience warranting a substantial hourly rate, while at the same time seeking

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compensation for “research” regarding a case which at best makes a passing reference to the issues

at hand in this matter. He has produced declarations from two of his colleagues (as well as his own

declaration) attesting to his numerous years of experience in work on behalf of consumers, ECF

5-1, 5-2 and 5-3, while his billing records seek compensation for research that an attorney with the

degree of familiarity with the FDCPA counsel claims to possess would not have had to do. Either

Plaintiff’s counsel commands the higher rate afforded to those with significant experience in the

field, or he needs to conduct the research required of lesser seasoned attorneys. He cannot have it

both ways. As such, the Court should wholesale exclude counsel’s “research” from its ultimate

fee award, and reduce the amount by a further $206.25.

       E.      LVNV does not contest Plaintiff’s request for costs.

       As the prevailing party, and pursuant to the plain terms of the Offer of Judgment which

Plaintiff accepted, she is entitled to recover her costs. Although LVNV sees no reason for

Plaintiff’s counsel sending LVNV the same letter three times by three different means of delivery,

LVNV does not contest Plaintiff’s request for costs.

V.     CONCLUSION

       In light of the foregoing, Defendant LVNV Funding, LLC respectfully submits that the

Court should reduce the fees sought by counsel in this case--In conclusion, Plaintiff’s fee should

be reduced a total of $1,495, from the requested $5,253.71 for a total of $2,113.75.

                                      Respectfully submitted,

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Dated: July 8, 2022




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                               CERTIFICATE OF SERVICE

       I certify that on July 8, 2022, a true copy of the foregoing document was served on all

counsel of record by CM/ECF.



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